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FOR THE MIDDLE DISTRICT OF ALABAMA
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BEVERLV BRABHAM

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28 U. s. c. S. 2254 HABEAS coRPUs %

This cause of Habeas Corpus action is being brought
by the Petitioner. She requests that she be GRANTED leave to
proceed in forma pauperis, as she is not employed at present.

The Petitioner presented to this Honorable Court all
of the facts, documents, and records that she had pertaining ’
to her illegal sentence and incarceration of April 1999. She
wishes to present them in this separate Habeas Corpus. The
fact that a probation never existed to be revoked in April 1999 ?
has not been determined by this Honorable Court. D. A. Boyd
whigham withheld documents, the Case Action Summary, and even
lied about Judge Gaither's sworn testimony in August 1999.

This concealing, covering up, withholding documents, and lying f
about facts of the case that are in the Petitioner's favor is
serious fundamental unfairness.

Since the THIRD sentence for the same case is being
considered in a separate Habeas Corpus, the Petitioner realizes
that she must file a separate habeas corpus for each sentence
ordered on the same case. The June 1996 conviction, which was
obtained by the severe coercion of a guilty plea by the Judge
and D.A. Whigham, was not intended to be the focus of the 99-
T-1374-N Habeas Corpus. The April 2, 1999 false imprisonment
was the reason it was filed. Double jeopardy always stands
alone. The Petitioner was mainly alleging that her current
incarceration of April 1999 was illegal, even if the lies of
1996 remained on record, and she was within the one-year statute
of time for filing. This instant petition and the enclosed
Exhibits are absolute proof beyond any doubt that the Petitioner
was sentenced on an expired case on April 2. 1999, and that
her incarceration, robbing her of 2 Years of her life, was totally
illegal - DOUBLE JEOPARDY.

That Habeas Corpus was dismissed as being out of the

statute of time concerning only the June 1996 ordeal. However, /

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the Petitioner WAS within the one-year time limitation for the
sentence of April 2, 1999 (double jeopardy) which is the reason
she filed. She alleged details of the occurrences of April
1999, but they were not addressed by this Honorable Court with
that petition. lt was not questioned as to whether a probation
even existed, and the Petitioner has proof herein that NO probation
was ordered on Case # 96-54. Since the Petitioner's sentence
had been suspended, then ended, she was not "in custody" on
the expired case until March 25, 1999 when jeopardy attached.
lt was suspended prior to the Alabama Court of Appeal's final
judgement, therefore a Federal Habeas Corpus would not have
been permitted because a suspended sentence is not considered
"in custody". The Petitioner received the SECOND sentence for
the expired case on April 2, 1999, more than two years after
it had expired the first time, and only then was she rendered
"in custody".

D. A. Boyd whigham managed to avoid sending the
CASE ACTION SUMMARY as ordered by Magistrate Judge John Carroll.
Whigham also avoided sending many vital documents to the case;
those that were in the Petitioner's favor. He did not send
the order of April 2, 1999 where he added to the original sentence
and treated the sentence as if it were a new case. lt wa§_a
new sentence, for the case had expired per Judge Gaither in
May 1997. There is no entry of a hearing held on April 1, 1999.
The Petitioner was not present or represented. Therefore this
Honorable Court did not have the complete information as ordered.
Documents were withheld, concealed, or lied about by
D. A. whigham. He ignored several of the Court's orders, but
the Petitioner was unable to get this point across.

The Petitioner received the THIRD sentence on April
18, 2001, EVEN BEFORE THE 99-T-1374-N HABEAS CORPUS WAS DISMISSED.
The Petitioner also alleged double jeopardy at that time, but
it was not included either by this Honorable Court until a recent
and separate habeas corpus was filed concerning the sentence
of April 18, 2001, after its expiration on April 10, 2001.
without the benefit of Counsel, the Petitioner thought it was
proper to present all THREE sentences for the same case in ONE
Habeas Corpus. After all, the THIRD sentence by Judge Smithart
occurred while the Habeas Corpus was still pending. That is

why the Petitioner wishes to file this instant Habeas Corpus

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separately concerning the SECOND sentence on Case # 96~54.

Then that will be a Habeas Corpus for each sentence the Petitioner

has received for the same case.
HABEAS CORPUS RELIEF SHOULD BE GRANTED

The original sentence for this case was suspended
by the ordering Judge (Robertson). See Exhibit , the Case
Action Summary. He resigned his position as Judge, and Judge
Gaither took the office of the Circuit Judge in Bullock County,
Alabama. He ordered that the sentence remain suspended, then
to return for further orders. Judge Gaither was notified by
the Petitioner's attorney that his orders had been met, and
to advise as to the Court's further orders. Judge Gaither chose
not to call the Petitioner back to court for further orders
for probation, and he stated so in his enclosed Affidavit.

See Exhibit §§ , mainly the highlighted facts.

The Case Action Summary shows where the Petitioner
was not called back for further orders by Judge Gaither.

D. A. Whigham has avoided and ignored the true facts of the
case. and he totally disregards Judge Gaither's involvement

in his answers. The fact that there was NO probation to revoke
is a definite Federal question, especially since the Petitioner
spent 2 years, illegally incarcerated because of double jeopardy
due to malicious prosecution. D. A. Boyd whigham is notorious
for prosecutorial misconduct. Many case examples exist in that
horrified little town, ruled by his dictatorship.

The Case Action Summary does not even indicate where
a hearing was held for the April 2, 1999 hearing to sentence
the Petitioner to prison for 2 years on a "probation revocation"
when she was not on probation. The attempted murder by the
Petitioner's estranged husband rendered her physically incapable
of being in court on April 1, 1999 when the sentencing supposedly
occurred. She was not present, nor was she represented at the
hearing, if one wa$even held. the court was well aware of her
condition, but maliciously proceeded anyway.

The enclosed Exhibit , a letter from Central
Records, further proves that the Petitioner was not on probation
in March 1999. Central Records was only notified of the sentence
being suspended, for there, again, was no order for probation

by Judge Gaither.

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Judge Gaither appeared at a hearing in Bullock County
Circuit Court in August 1999. He testified that he did not
place Beverly Brabham on probation after he was satisfied that
she had completed what he had ordered under the suspended sentence,
See enclosed Exhibit N:Eza, Affidavit of Mary Corwin, especially
the highlighted areas. The Petitioner was told by her Attorney
who represented her that a Court Reporter was present at the
August 1999 hearing, (The Petitioner is not aware of whether
or not a Court Reporter was present at the April 1, 1999 hearing
because she was not present.) At the August 1999 hearing, even
after Judge Smithart was made aware that he had revoked a non-
existent probation (just a matter of days after his being put
in office), he was angry at the exposure of the truth, but still
ruled against the Petitioner with callous disregard of her
Constitutional Rights.

The Petitioner should be within the statute of time
for filing, as the Habeas Corpus which contained this material
was dismissed less than a year ago, and it was all alleged in
that Habeas Corpus. Whether or not a probation existed was
not established prior to the dismissal. That Habeas Corpus
also contained the material in the pending Habeas Corpus (Case
# OZ-D*BSO-N) which involves the THIRD sentence for the same
case, but the Petitioner filed a separate Habeas Corpus when
she realized that the Court did not address it. Thus, the
Petitioner thought it was necessary to file for this relief
separately also. The enclosed documents, proving that the Petitioner
was re-sentenced on April 2, 1999 on an expired case have not
bee addressed by this Honorable Court until now.

The Petitioner prays that this Honorable Court would
grant her the relief she is so due. She is aware now that a
separate Habeas Corpus should be submitted for each sentence

received on the same case.

Respectfully Submitted,

Pd)@c@@ MM

Beverly Brabham

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EXHIBITS
NOT SCANNED

